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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CRESCENCIO DELGADO-ESQUIVEL
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:11-CR-00075-MCE
                                     )
12                  Plaintiff,       )
                                     )     AMENDED STIPULATION AND ORDER TO
13        v.                         )     CONTINUE STATUS CONFERENCE
                                     )
14   CRESCENCIO DELGADO-ESQUIVEL,    )
     et al.,                         )     Date: June 7, 2012
15                                   )     Time: 9:00 a.m.
                    Defendants.      )     Judge: Hon. Morrison C. England
16                                   )
     _______________________________ )
17
18        IT IS HEREBY STIPULATED between the parties, plaintiff United States
19   of America by its attorney SAMUEL WONG, Assistant United States Attorney;
20   DOUGLAS BEEVERS, Assistant Federal Defender, attorney for defendant
21   CRESCENCIO   DELGADO-ESQUIVEL;    GILBERT   ROQUE,    attorney   for   defendant
22   SALVADOR JAMAICA-ARELLANO; and CLEMENTE JIMENEZ, attorney for defendant
23   LAZARO ANDRADE-BAUTISTA, that the status conference of March 29, 2012 at
24   9:00 a.m., be vacated, and the matter be set for status conference on
25   June 7, 2012, at 9:00 a.m.
26        This continuance is requested to allow counsel additional time to
27   review discovery with the defendants, to examine possible defenses and to
28   continue investigating the facts of the case.
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 1   Plea agreements for some defendants are expected to be tendered shortly
 2   after ongoing negotiations are completed.            These tasks are made more
 3   difficult and time-consuming because many of the defendants are Spanish
 4   language speakers and communications with their counsel need to be
 5   conducted with the assistance of a Spanish-English language interpreter.
 6   Defense counsel need additional time to explain the ramifications of any
 7   proposed plea agreements to their respective clients and to prepare their
 8   respective client's defense in the event that there is no pretrial
 9   resolution of this case.         In addition, defense counsel for defendants
10   desire    pre-plea    presentence    reports,   which    are   anticipated   to   be
11   completed in approximately eight weeks to help apprise them of legal
12   and/or factual issues on which they may need to perform additional legal
13   research and factual investigation in order to help prepare defendants’
14   defense.
15         All defendants are currently in custody and are willing to waive
16   time pursuant to the Speedy Trial Act in order for defense counsel to
17   obtain the pre-plea presentence reports, pursue negotiations with the
18   government, and properly advise defendants of the ramifications of the
19   pre-plea presentence reports and any proposed plea agreements.
20   ///
21   ///
22   ///
23   ///
24   ///
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28   ///


     Stip and Order                           -2-
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 1         All parties stipulate and agree that the Court shall find this case
 2   complex and unusual within the meaning of 18 U.S.C. Section 3161(h)(7)(A)
 3   and (B) (ii) and Local Code T-2 because defendant Delgado-Esquivel is
 4   named as a defendant in two separate methamphetamine conspiracy and
 5   trafficking Indictments with multiple Spanish speaking only
 6   co-defendants, multiple counts, and numerous Spanish language audio
 7   recordings that must be translated to English, all of which make it
 8   unreasonable to expect adequate preparation for pretrial proceedings and
 9   trial itself within the time limits established in 18 U.S.C. Section
10   3161. The parties stipulate and agree that the Court shall find that the
11   failure to grant the requested continuance in this case would deny
12   counsel for defendants reasonable time necessary for effective
13   preparation, taking into account the exercise of due diligence.
14         The parties agree and stipulate that the Court shall find:       (1) the
15   time within which the trial of this case must be commenced under the
16   Speedy Trial Act should therefore be excluded under 18 U.S.C. section
17   3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Codes T2
18   (complex and unusual case) and T4 (to allow defense counsel time to
19   prepare), from the date of the parties' stipulation, March 29, 2012, to
20   and including June 7, 2012; and (2) the ends of justice served by the
21   granting of such a continuance outweigh the best interests of the public
22   and the defendants in a speedy trial.
23   ///
24   ///
25   ///
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28   ///


     Stip and Order                         -3-
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 1        Accordingly, the parties respectfully request the Court adopt this
 2   proposed stipulation in its entirety as its order.
 3        IT IS SO STIPULATED.
 4   Dated: March 29, 2012                  Respectfully submitted,
 5                                          DANIEL BRODERICK
                                            Federal Defender
 6
                                            /s/ Doug Beevers
 7                                          DOUG BEEVERS
                                            Assistant Federal Defender
 8                                          Attorney for Defendant
                                            CRESCENCIO DELGADO-ESQUIVEL
 9
10   Dated: March 29, 2012                  /s/ Gilbert Roque
                                            GILBERT ROQUE
11                                          Attorney for Defendant
                                            SALVADOR JAMAICA-ARELLANO
12
13   Dated: March 29, 2012                  /s/ Clemente Jimenez
                                            CLEMENTE JIMENEZ
14                                          Attorney for Defendant
                                            LAZARO ANDRADE-BAUTISTA
15   Dated: March 29, 2012                  BENJAMIN B. WAGNER
                                            United States Attorney
16
                                      By:   /s/ Samuel Wong
17                                          SAMUEL WONG
                                            Assistant U.S. Attorney
18                                          Attorney for Plaintiff
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     Stip and Order                         -4-
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 1                                           ORDER
 2        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
 3   ordered that the status conference presently set for March 29, 2012, be
 4   continued to June 7, 2012, at 9:00 a.m. Based on the representation of
 5   defense counsel and good cause appearing therefrom, the Court hereby
 6   finds that it is unreasonable to expect adequate preparation for pretrial
 7   proceedings and trial itself within the time limits established in 18
 8   U.S.C. § 3161, and the requested continuance is necessary to provide
 9   defense counsel reasonable time necessary for effective preparation,
10   taking into account the exercise of due diligence.            The Court finds the
11   ends of justice to be served by granting the requested continuance
12   outweigh the best interests of the public and the defendants in a speedy
13   trial.
14        It is ordered that time from the date of the parties’ stipulation,
15   March 29, 2012, up to and including, the June 7, 2012, status conference
16   shall be excluded from computation of time within which the trial of this
17   matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.
18   §3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 (complex and
19   unusual case) and T4 (allow defense counsel reasonable time to prepare).
20        In addition, the Court further ORDERS the United States Probation
21   Office to prepare and disclose to the parties a pre-plea presentence
22   investigation report by May 25, 2012.
23   Dated: April 2, 2012
24
25                                        _______________________________________
                                          MORRISON C. ENGLAND, JR.
26                                        UNITED STATES DISTRICT JUDGE
27
28


     Stip and Order                           -5-
